Fill in this information to identify the case:

Debtor 1
                           Anthony L. Davis

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:            Northern           District of      Illinois
                                                                                     (State)

Case number              19-13020


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                                  12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
     Name of creditor:           The Bank of New York Mellon f/k/a The Bank of New                         Court claim no. (if known):           4
                                 York, successor-in-interest to JPMorgan Chase Bank,
                                 N.A. as Trustee for Structured Asset Mortgage
                                 Investments II Trust 2006-AR5, Mortgage Pass-
                                 Through Certificates, Series 2006-AR5

     Last 4 digits of any number you use to                                                                Date of payment change:
     Identify the debtor’s account:                       0829                                             Must be at least 21 days after            08/01/2020
                                                                                                           date
                                                                                                           of this notice


                                                                                                           New total payment                         $1,399.70
                                                                                                           Principal, interest, and escrow, if
                                                                                                           any



Part 1:               Escrow Account Payment Adjustment
1. Will there be a change in the debtor’s escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
            the basis for the change. If a statement is not attached, explain why:


               Current escrow payment:          $653.16                                        New escrow payment:        $855.03


Part 2:               Mortgage Payment Adjustment
2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s
variable-rate account?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
            attached, explain why:


               Current interest rate                                      %                    New interest rate:                                    %

               Current principal and interest payment:           $                             New principal and interest payment:          $


Part 3:               Other Payment Change
3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

       No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
               (Court approval may be required before the payment change can take effect.)

               Reason for change:

               Current mortgage payment:           $                                           New mortgage payment:         $


Official Form 410S1                                                  Notice of Mortgage Payment Change                                                            page 1
Debtor 1            Anthony L. Davis                                                           Case number (if known)   19-13020
                    First Name       Middle Name           Last Name



Part 4:         Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.



x       /s/ Karl Meyer                                                                                Date        6/4/2020
    Signature



Print                    Karl Meyer                                                                   Title      Attorney for Creditor
                         First Name         Middle Name                Last Name



Company                  Codilis & Associates, P.C.


Address                  15W030 North Frontage Road, Suite 100
                         Number        Street

                         Burr Ridge                   IL                    60527
                         City                               State           ZIP Code



Contact phone            (630) 794-5300                                                               Email      ND-Four@il.cslegal.com

                                                                                                                                          File #14-17-10216




The ‘current escrow payment’ in the attached Escrow Statement will not match the previously filed NOPC or POC as
this escrow payment is based on the contractual due date. The current escrow payment included in this Notice of
Payment Change is based on the previously filed court record. This will not have any impact on the borrower.




Official Form 410S1                                                 Notice of Mortgage Payment Change                                       page 2
                                           CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
upon the parties listed below, as to the Trustee and Debtor's attorney via electronic notice on
June 4, 2020 and as to the debtor by causing same to be mailed in a properly addressed
envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour of
5:00 PM on June 4, 2020.

Tom Vaughn, Chapter 13 Trustee, 55 E. Monroe Street, Suite 3850, Chicago, IL 60603 by
electronic notice through ECF
Anthony L. Davis , Debtor(s), 16708 Greenwood Ave., South Holland, IL 60473
David M Siegel, Attorney for Debtor(s), 790 Chaddick Drive, Wheeling, IL 60090 by electronic
notice through ECF
Office of U.S. Trustee, 219 S. Dearborn St., Room 873, Chicago, IL 60604 by electronic notice
through ECF




                                                        /s/ Karl Meyer


Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
Karl V. Meyer ARDC#6220397
Grant W. Simmons ARDC#6330446
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300
File #14-17-10216

NOTE: This law firm is a debt collector.
                                                                   C/O PHH Mortgage Services
                                                                   P.O. Box 5452
                                                                   Mt. Laurel, NJ 08054-5452


    Your annual escrow statement                                                                      Loan number:
    May 18, 2020
                                                                                                      Questions?
                                                                                                      Visit us at
                                                                                                      www.MortgageQuestions.com
                                                                                                      Call toll free 1-888-820-6474
            ANTHONY L DAVIS                                                                           Fax 1-856-917-8300
            16708 GREENWOOD AVE
            SOUTH HOLLAND, IL 60473-3182



                                                            PERSONAL INFORMATION REDACTED



Why am I getting this statement?
In accordance with federal guidelines your escrow account is reviewed at least one time per year; however, certain circumstances
may require an additional review. This statement is a result of that review known as an escrow analysis statement, which determines
if sufficient funds are available to pay your taxes and/or insurance. This statement is a projection of your escrow account and may
also include a history of the escrow activity on your loan since the time you last received an escrow analysis statement. The
enclosed update follows notice of the account's involvement in a bankruptcy petition, filed on May 6, 2019 under chapter 13 of the
Bankruptcy Code. This statement should be reviewed carefully. The mortgage payment may be affected. Please contact us at the
number above if this account is not part of a Chapter 13 proceeding or plan. If this account has filed for any other Bankruptcy
protection or received an Order of Discharge in a Chapter 7 bankruptcy case, or received any other discharge under the U.S.
Bankruptcy Code that applied to the referenced property, please be advised that this Notice is for information purposes only and
not intended as an attempt to collect a debt against you personally.

What does this mean to me?
Because your escrow account is projected to have less money than is needed, there is a shortage of $1,065.54.
Option 1) Do Nothing: The monthly shortage for the next 12 months is $88.80 and will automatically be added to your monthly
payment beginning August 2020. Your new monthly payment for August 2020 will be $1,399.70.
Option 2) Pay the escrow shortage as a lump sum using the attached shortage coupon. If you pay your escrow shortage by July
20, 2020, then your new monthly payment will be $1,310.90 effective with your August 2020 mortgage payment.

What is a shortage?
    A shortage is the difference between the anticipated escrow balance and the required escrow balance at the beginning of the
    analysis cycle. A shortage typically results from changes in taxes and/or insurance. Please refer to the enclosed FAQ for additional
    information.
Anticipated escrow account balance (as of July 31, 2020):                                      -$ 1,784.57
Escrow adjusted per Proof of Claim*                                                             $2,251.48
Required escrow account balance (as of July 31, 2020 ):                                          $1,532.45
Difference resulting in an escrow account shortage:                                              $1,065.54
*This amount reflects the adjustment made for the Bankruptcy Proof of Claim:
a




                                                                                                                                              See reverse è
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose. However, if the debt is in
active bankruptcy or has been discharged through bankruptcy, this communication is provided purely for informational purposes only with regard to our
secured lien on the above referenced property. It is not intended as an attempt to collect a debt from you personally. As may be required by state law, you
are hereby notified that a negative credit report reflecting on an accountholder's credit record may be submitted to a credit reporting agency if credit
obligation terms are not fulfilled.
Tear off here                                                                                                                                  Page 1 of 3

Escrow analysis                                                                Borrower Name: ANTHONY L DAVIS
Coupon                                                                         Loan Number:

                                                                               c I choose to repay the shortage of $ ___________________ in full.
    Shortage Amount: $1,065.54
                                                                                   Make the check payable to PHH Mortgage Services and mail it with
                                                                                   this coupon in the envelope provided. Your lump sum payment must be
                                                                                   received by July 20, 2020 to be effective with your August 2020
                                                                                   payment.

                PHH Mortgage Services                                              You may also pay your shortage online by visiting the website shown at
                PO BOX 371867                                                      the top of this statement.
                PITTSBURGH, PA 15250-7867
 What is my new monthly payment?
 The following table reflects your current monthly payment and new monthly payment for each option:
                       Current Payment      New Payment with Shortage - Opt 1 New Payment without Shortage - Opt 2
 Principal & Interest             $544.67                    $544.67                     $544.67
 Escrow Deposit                  $656.22                     $766.23                     $766.23
 Escrow Shortage                                              $88.80
 Total Payment                  $1,200.89                  $1,399.70                   $1,310.90

 If your payment is issued by a third party, or if you make payments through a bill pay service, then please make sure
 your new total monthly payment amount is updated with your service provider.


 Payment Change Breakdown
 Below are the escrow items we anticipate collecting for and paying on your behalf over the next 12 months. To calculate your new
 monthly escrow payment of $766.23, we added up the actual or estimated tax and insurance payments for the next 12 months
 beginning with the August 2020 payment and divided the total by 12. Included for the comparison are the Annual Payments we
 projected to pay during the last analysis cycle, as displayed in detail in the history portion of the escrow analysis statement.



 Description                                     Current Annual Payment                            Projected Annual Payment
 Taxes                                                      $6,728.96                                           $6,525.71
 Insurance                                                  $1,109.00                                           $2,669.04

 TOTAL                                                              $7,837.96                                              $9,194.75



 Prior Year Account History and Coming Year Projections
 This statement itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure and
 projects payments, disbursements and balances for the coming year. The projections from your previous escrow analysis are included with
 the actual payments and disbursements for the prior year. By comparing the actual escrow payment with the previous projections listed, you can
 determine where a difference may have occurred. When applicable, the letter "E" beside an amount indicates that all or a portion of a payment or
 disbursement on that row has not yet occurred but is estimated to occur as shown. An asterisk (*) beside an amount indicates a difference from
 projected activity either in the amount or date.

 Projections are included to ensure sufficient funds are available to pay your taxes and/or insurance for the coming year. Under Federal Law
 (RESPA) the lowest monthly balance in your escrow account should be no less than $1,532.46 or 1/6th of the total annual projected disbursement
 from your escrow account, unless your mortgage documents or state law specifies otherwise.

 Your projected anticipated lowest account balance of $1,784.56- will be reached in July 2021. When subtracted from your minimum required
 balance of $1,532.46, an Escrow Shortage results in the amount of $1,065.54. These amounts are indicated with LP. You will receive an Annual
 Escrow Account Disclosure Statement reflecting the actual disbursements at the end of the next escrow analysis cycle. However, you should keep
 this statement for your own records for comparison. If you have any questions about this statement, please call our Customer Service Department
 toll free at 1-888-820-6474.




    When you provide a check as payment, you authorize us either to use the information from your check to make a one-time electronic fund transfer from your account, or to process the payment as a
    check transaction. When we use information from your check to make an electronic fund transfer, funds may be withdrawn from your account as soon as the same day we receive your payment, and
    you will not receive your check back from your financial institution. If you do not want us to use the information from your check to make a one time electronic funds transfer or if you have any
    questions, please call us at the phone number shown on the front of this statement.




                                                                                                                                                                                      Page 2 of 3


Change of name or address
If your contact information has changed, please give us the new
information below.

Name (first, middle, last)


Address (number and street)                                                                    Suite no.


City                                                               State                       Zip code


Home telephone                                             Business telephone                  Extension
(           )                                              (         )
E-mail address
                                                         C/O PHH Mortgage Services
                                                         P.O. Box 5452
                                                         Mt. Laurel, NJ 08054-5452


Your annual escrow statement (continued)                                                        Loan number:
May 18, 2020                                                                                    Questions?
                                                                                                Visit us at
           ANTHONY L DAVIS
                                                                                                www.MortgageQuestions.com
           16708 GREENWOOD AVE
           SOUTH HOLLAND, IL 60473-3182                                                         Call toll free 1-888-820-6474
                                                                                                Fax 1-856-917-8300




        Escrow account projections for the coming year
                                          Anticipated amounts           Anticipated amounts
                                                 paid into your              paid out of your           Anticipated escrow                          Required escrow
Date             Description               escrow account ($)            escrow account ($)             account balance ($)                       account balance ($)
                 Opening balance                                                                               - 1,784.57                              1,532.45
Aug 2020         HAZARD INS.                          766.23                        222.42                      -1,240.76                              2,076.26
Sep 2020         HAZARD INS.                          766.23                        222.42                        -696.95                              2,620.07
Oct 2020         HAZARD INS.                          766.23                        222.42                        -153.14                              3,163.88
Nov 2020         HAZARD INS.                          766.23                        222.42                         390.67                              3,707.69
Dec 2020         HAZARD INS.                          766.23                        222.42                         934.48                              4,251.50
Jan 2021         HAZARD INS.                          766.23                        222.42                       1,478.29                              4,795.31
Feb 2021         COUNTY TAX                           766.23                       3,546.87                     -1,302.35                              2,014.67
Feb 2021         DUP BILL FEE                                                          7.00                     -1,309.35                              2,007.67
Feb 2021         HAZARD INS.                                                        222.42                      -1,531.77                              1,785.25
Mar 2021         HAZARD INS.                          766.23                        222.42                        -987.96                              2,329.06
Apr 2021         HAZARD INS.                          766.23                        222.42                        -444.15                              2,872.87
May 2021         HAZARD INS.                          766.23                        222.42                              99.66                          3,416.68
Jun 2021         HAZARD INS.                          766.23                        222.42                         643.47                              3,960.49
Jul 2021         COUNTY TAX                           766.23                       2,964.84                     -1,555.14                              1,761.88
Jul 2021         TAXES                                                                 7.00                     -1,562.14                              1,754.88
Jul 2021         HAZARD INS.                                                        222.42                      -1,784.56                              1,532.46 LP
Total                                              $9,194.76                      $9,194.75

                                             LP - indicates your required escrow lowest balance


        Prior year account History
                                                           Amounts paid into                     Amounts paid out of                                 Escrow account
                                                         your escrow account                    your escrow account                                         balance
Date            Description                 Anticipated ($)          Actual ($)    Anticipated ($)         Actual ($)           Anticipated ($)            Actual ($)
                Opening balance                                                                                                     3,265.84             -9,477.95
Jun 2019                                           653.16                     *                                                     3,919.00             -9,477.95
Jul 2019        COUNTY TAX                         653.16          1,306.32 *                            2,964.84*                  4,572.16            -11,136.47
Jul 2019        TAXES                                                                                         6.00*                 4,572.16            -11,142.47
Aug 2019        COUNTY TAX                         653.16           653.16             3,244.95                     *               1,980.37            -10,489.31
Sep 2019        HAZARD INS.                       653.16                      *        1,109.00                     *               1,524.53            -10,489.31
Oct 2019                                          653.16           1,306.32 *                                                       2,177.69             -9,182.99
Nov 2019                                           653.16                     *                                                     2,830.85             -9,182.99
Dec 2019                                           653.16           653.16                                                          3,484.01             -8,529.83
Jan 2020        HAZARD INS.                        653.16             23.39 *                              889.68*                  4,137.17             -9,396.12
Jan 2020        HAZARD INS.                                                                                222.42*                  4,137.17             -9,618.54
Feb 2020        COUNTY TAX                         653.16           653.16             3,484.01          3,546.87*                  1,306.32            -12,512.25
Feb 2020        DUP BILL FEE                                                                                  7.00*                 1,306.32            -12,519.25
Mar 2020        HAZARD INS.                        653.16           653.16                                 222.42*                  1,959.48            -12,088.51
Mar 2020        HAZARD INS.                                                                                222.42*                  1,959.48            -12,310.93
Apr 2020        HAZARD INS.                       653.16           1,306.32 *                              222.42*                  2,612.64            -11,227.03
May 2020        HAZARD INS.                       653.16          11,775.24 E                              222.42E                  3,265.80                325.79
Jun 2020        HAZARD INS.                                         653.16 E                               222.42E                  3,265.80                756.53
Jul 2020        COUNTY TAX                                          653.16 E                             2,964.84E                  3,265.80             -1,555.15
Jul 2020        TAXES                                                         E                               7.00E                 3,265.80             -1,562.15
Jul 2020        HAZARD INS.                                                   E                            222.42E                  3,265.80             -1,784.57
Total                                           7,837.92          19,636.55            7,837.96         11,943.17




                                                                                                                                                    Page 3 of 3
